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In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

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JAMES KING,              *
                         *                           No. 13-962V
             Petitioner, *                           Special Master Christian J. Moran
                         *
v.                       *                           Filed: February 18, 2014
                         *
SECRETARY OF HEALTH      *                           Stipulation; influenza (“flu”)
AND HUMAN SERVICES,      *                           vaccine; shoulder injury related
                         *                           to vaccine administration; SIRVA.
             Respondent. *
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William E. Cochran , Jr., Black, McLaren, et al., Memphis, TN, for petitioner;
Darryl R. Wishard, United States Department of Justice, Washington, DC, for
respondent.

             UNPUBLISHED RULING FINDING ENTITLEMENT1

       On December 6, 2013, James King filed a petition under the National
Childhood Vaccine Injury Act, 42 U.S.C. §300a—10 et. seq., alleging that he
suffered a shoulder injury related to his receipt influenza (“flu”) vaccine on
October 14, 2014.
       In her Rule 4(c) report, respondent states that “this case is appropriate for
compensation…” Resp’t’s Rep’t, filed Feb 10, 2014, at 1. Respondent adds that
the Division of Vaccine Injury Compensation, Department of Health and Human
Services, has reviewed the facts of this case and has concluded that the alleged
injury, lasting for more than six months, “is consistent with a shoulder injury
related to vaccine administration (‘SIRVA’),” and thus that “petitioner met the
statutory requirements for entitlement to compensation.” Id. at 4.
       1
         The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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       Special masters may determine whether a petitioner is entitled to
compensation based upon the record. A hearing is not required. 42 U.S.C. §
300aa-13; Vaccine Rule 8(d). Based upon a review of the record as a whole, the
undersigned finds that petitioner has established that he is entitled to compensation
for his injury.
        Accordingly, Mr. King is entitled to compensation. A status conference
is set, sua sponte, for Monday, March 17, 2014 at 2:00 P.M. Eastern Time, to
discuss the process for quantifying the amount of damages to which Mr. King is
entitled.2

        Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-
6353.

        IT IS SO ORDERED.

                                                    s/Christian J. Moran
                                                    Christian J. Moran
                                                    Special Master




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         All preexisting deadlines are CANCELLED. In anticipation of the status conference,
petitioner shall begin gathering the materials respondent requests in her Rule 4 Report. Resp’t’s
Rep’t at 4.
